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     Attorney for Petitioner Javier Beltran
9

10                               IN THE UNITED STATES DISTRICT COURT

11                             FOR THE EASTERN DISTRICT OF CALIFORNIA

12
       UNITED STATES OF AMERICA,
13
                                                      Case No. 1:18-cr-153 LJO/SKO
                       Plaintiff-Respondent,
14
                                                     PETITIONER’S REQUEST FOR A 30-DAY
15             v.                                    EXTENSION OF TIME TO FILE A SUPPLEMENT
                                                     TO THE PETITION, AND ORDER
16     JAVIER ALONSO BELTRAN,

17                     Defendant- Petitioner.
       _________________________________
18

19          I, CAROLYN PHILLIPS, am court-appointed counsel for petitioner JAVIER ALONSO

20   BELTRAN, and am responsible for preparing supplemental petition on Mr. Beltrans’ behalf.

21
     The court appointed counsel on October 28, 2019. Due to the circumstances described
22

23   Petitioner’s Request for a Thirty-Day Extension of Time to File a Supplement to the Petition,
     and Order; United States v. Beltran, Case No. 1:18-cr-0053 LJO/SKO
      Case 1:18-cr-00153-JLT-SKO Document 48 Filed 12/20/19 Page 2 of 3


1    below, petitioner requests a thirty-day extension in which to file a supplemental § 2255

2    petition, or until January 22, 2020.

3           Since appointment counsel has contacted Mr. Beltran in USP Pollock, Pollock

4    Louisiana. Counsel has reviewed the district court pleadings regarding the underlying

5    criminal case including the Presentence Report filed February 20, 2019. Further counsel

6
     has begun research regarding the supplement based on United States v. Davis, 139 S.Ct.
7
     2319 (2019). Unfortunately, counsel was confronted with several personal medical issues,
8
     other work-related deadlines and unexpected case emergences which prevented counsel
9
     from completing the necessary research to draft the supplemental petition by the current
10
     due date of December 23, 2019. In addition, counsel has a prepaid family vacation
11
     beginning today, December 19, 2019 through December 27, 2019.                  Based on these
12
     circumstances petitioner respectfully requests a thirty-day extension of time within which
13
     to file a supplement to the petition, or by January 22, 2020.
14

15          I declare under penalty of perjury that the foregoing is true and correct, and that

16   this declaration is executed at Fresno, California this 19th day of January 2019.

17                                                       /s/Carolyn D. Phillips
                                                         CAROLYN D. PHILLIPS
18                                                       Attorney for Petitioner
                                                         JAVIER ALONSO BELTRAN
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23   Petitioner’s Request for a Thirty-Day Extension of Time to File a Supplement to the Petition,
     and Order; United States v. Beltran, Case No. 1:18-cr-0053 LJO/SKO
      Case 1:18-cr-00153-JLT-SKO Document 48 Filed 12/20/19 Page 3 of 3


1                                                  ORDER

2
            GOOD CAUSE appearing, petitioner Beltran’s request for a thirty-day extension
3
     within which to file supplemental pleadings shall be extended thirty-days from
4
     December 23, 2019 to January 22, 2020.
5
        IT IS SO ORDERED.
6
                                                  Dated:    December 20, 2019                   /s/
7    Lawrence J. O’Neill _____
                                                  UNITED STATES CHIEF DISTRICT JUDGE
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23   Petitioner’s Request for a Thirty-Day Extension of Time to File a Supplement to the Petition,
     and Order; United States v. Beltran, Case No. 1:18-cr-0053 LJO/SKO
